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                         EXHIBIT I
           Case 6:20-cv-00180-JDK Document 65-10 Filed 01/27/21 Page 2 of 4 PageID #: 2358
2012-03-14 16:04                 Vish Palepu, CPA,                        51246373946                                                                      Pata




              Form 424                                                                                                   This space reserved for office use.
              (Revised 05/11)
              Submit in duplicate to:
                                                                                                                                              FILED
              Secretary of State                                                                                                    In the Office of the
              P.O, Box 13697                                                        sews

                                                                                                                                Secretary of State of Texas
              Austin, TX 78711-3697                               Certificate of Amendment
              512 463-5555                                                                                                              MAR 14 2012
              PAX:
              FilingFee: See instructions                                                                                      Corporations Section

                                                                       Entity Information
             ‘The nameof the filing entity is:

             NOVEDEA SYSTEMS, INC.
             State the   name     of the entity as currently shown in the records of the secretary of state.          Ifthe amendment changes the name
             ofthe    entity,   state the old   name   and not the new name.

             The     filing entity is a: (Select the appropriate entity type below.)
                For-profit Corporation                                               CO) Professional Corporation
             (J Nonprofit Corporation                                               CL] Professional Limited Liabitity Company
                   Cooperative Association                                          [_} Professional Association
                   Limited Liability Company                                            Limited   Partnership
            ‘The file number issued to the              filing
                                                 entity by the secretary of state is: 800498580
            The date of formation of the entity is:



                                                                           Amendments
                                                                         1. Amended Name
                          (If the purpose of the certificate of amendment is to change the    name   of the   entity. use the followingstatement)
            The amendment changes the certificate of formation to
                                                                       change the article                                or   provision that names the
            filing entity. The article or provision is amended to read as follows:
            The name of the           filing entity is: (state the new name of the entity below)

            The name of the entity must contain an       organizational designation or accepted abbreviation of such term, as applicable.

                                                Registered Agent/Registered Office
                                                     2. Amended
           The amendment changes the certificate of formation to change the article or
           name of the registered agent and the
                                                                                         provision stating the
                                                registered office address of the filing entity.’ The article or
           provision is amended to read as                 follows:                                                                                 ote




          Form 424
                                                                                    6



                                                                                                                                               KATAMARAJA291460
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                                                                 Repistered Agent
                                              (Complete either A or B, but not both. Also complete C.)
                   A.      The registered agent is an organization (cannot be entity named above) by the name of:


              OR
                   B. The        registered agent is an individual resident of the slate whose name 1s:
                                                                                           PALFPU                                           CPA
              VISWANATH                                             ALL                    fast Nume                                        Suffix
              birst Name               .




              The person executing this instrument affirms that the person                                designated as the new registered agent
              has consented to serve as registered agent.
                                                                                                                                        ?


              C. The business address              of   the   registered   agcnt and the          registered   office address is:

                                                                                                                              TX
              Street -lddress (No PO, Box)                                                 Citv                               Sate     Zip Code

                                                    3, Other Added, Altered, or Deleted Provisions
              Other   changes or additions to the certificate of formation may be made in the space provided below.               If the space    provided
                             incorporate the additional text
              is insufficient,                                        by providing    an   attachment to this form. Please read the instructions to this
              form for further information on formal.

            “Feat Area (The attached addendum,      if any. is incorporated herein by reference.}
                  Add each of the following provisions to the certificate of formation. The identification                                  or

              reference of the added provision and the full text are as follows:
              RAM DHAN Y KOTAMARAIA                           -
                                                                  DIRECTOR      -
                                                                                    TITLED AS PRESIDENT & CEO
              CURRENT ADDRESS:
              131 HIBBERT ST
              ARLINGTON MA 02476



                  Alter each of the following provisions of the certificate of formation. The identification or
              reference of the altered provision and the full text of the provision as amended are as follows:
              RAM DHAN Y KOTAMARAJA                           -
                                                                  100% OWNER OF COMMON STOCK




                   Delete each of the         provisions identified below from the certificate of formation.
              SRIHARI GOVINDARAJAN PRESIDENT AND SHAREHOLDER
                                                         -




              MANJULA DASYAM- DIRECTOR AND SHAREHOLDER



                                                                     Statement of Approval

              The amendments to the certificate of formation have been         in the manner           approved                     required by the
              Texas Business          Organizations
                                            Code and     the               by        governing
                                                                       documents of the                                   entity.
             Form 424                                                                  7




                                                                                                                                            KATAMARAJA291461
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                                                   Effectiveness of Filing isctoct cher

                               This document! hecomes effective when dre document is filed hy the secretary state. of
                               Vhis document beeumes effective at a lapse date, which is not movre than sincty  days from
                   the daw of signing. The delayed eMective date is,
                      (1 this document takes cffeet upon the occurrence ofa fun event or fact other than the
                   passage of time. The O6" day afer the date of sigsing is:
                   The folowing event ut fact ili cause tte decuntent to take effect in the manner described below:




                                                                    Execution
                   ‘the   undersizned signs this document subject to the penallies imposed by             law tor the submission of z
                   maserinliy false or Fraudulent instrument and oertifies under penalty of perjury that the undersignedis
                   authorized under the provisions af law gaseming the enlity to execute the piling mstrmtent




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